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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 JOSE MARIA DeCASTRO,
 a/k/a CHILLE DeCASTRO,
 a/k/a DELETE LAWZ,                                          Case No. 1:22-cv-11421-ADB

                 Plaintiff and Defendant-in-
                 Counterclaim

            v.

JOSHUA ABRAMS a/k/a
ACCOUNTABILITY FOR ALL and
KATE PETER a/k/a
MASSHOLE TROLL MAFIA,

                 Defendants and Plaintiffs-in-
                 Counterclaim, and

 GOOGLE LLC,

                 Defendant.


                        DECLARATION OF BENJAMIN D. MARGO
                 IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

       I, Benjamin D. Margo, state as follows:

       1.        I am an attorney licensed to practice law in New York, California, and the District

of Columbia.

       2.         I am an associate at the law firm of Wilson Sonsini Goodrich & Rosati, P.C.,

1301 Avenue of the Americas, 40th Floor, New York, New York 10019.

       3.        I am also admitted to practice in the United States District Courts for the Southern

District of New York, the District of the District of Columbia, the Western District of Michigan,

the Northern District of California, and the Central District of California, and the United States

Court of Appeals for the First Circuit.

       4.        I am a member in good standing in every jurisdiction where I am admitted to

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practice.

       5.      I have never been suspended or disbarred in any jurisdiction, and there are no

disciplinary proceedings pending against me in any jurisdiction.

       6.      I have not previously had a pro hac vice admission to this court (or other

admission for a limited purpose under this rule) revoked for misconduct.

       7.      I have read and agree to comply with the Local Rules of the United States District

Court for the District of Massachusetts.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on May

23, 2023.




                                             Benjamin D. Margo




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                                 CERTIFICATE OF SERVICE

        Undersigned counsel certifies that this document was filed through the CM/ECF system

and will be served electronically to the registered participants identified on the Notice of

Electronic Filing, and that non-registered participants (if any) have been served today by U.S.

Mail.


Dated: May 23, 2023                           Respectfully submitted,

                                              WILSON SONSINI GOODRICH & ROSATI
                                              Professional Corporation

                                                     /s/ Matthew D. Gorman
                                              Matthew D. Gorman (BBO #569406)
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                                              Counsel for Defendant Google LLC




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